Case: 1:10-cv-04603 Document #: 782 Filed: 11/29/18 Page 1 of 1 PageID #:13359

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Don Lippert, et al.
                               Plaintiff,
v.                                                    Case No.: 1:10−cv−04603
                                                      Honorable Jorge L. Alonso
Partha Ghosh, et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, November 29, 2018:


        MINUTE entry before the Honorable Susan E. Cox: This matter has been referred
to Judge Cox to conduct a settlement conference. Status hearing set for 12/5/2018 at 09:45
AM. for the purpose of scheduling a settlement conference. Counsel that appears for this
pre−settlement conference discussion must be counsel who will represent their respective
clients at the conference, or are able to discuss the issues of the case and to schedule the
conference on behalf of their clients. The Court expects counsel to discuss issues in the
case that may affect the settlement process. Mailed notice (np, )




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